08-12667-mew Doc 138-2 Filed 02/28/14 Entered 02/28/14 16:46:30 Affidavit of
   Boaz Bag Bag in Support of Motion for an Order(a) Reopening Case t Pg 1 of 3
08-12667-mew Doc 138-2 Filed 02/28/14 Entered 02/28/14 16:46:30 Affidavit of
   Boaz Bag Bag in Support of Motion for an Order(a) Reopening Case t Pg 2 of 3
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